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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

FREEMAN et al.,
                                                           )
        Plaintiffs,                                        )      Case No. 1:23-cv-01423-CSB-EIL
                                                           )
                v.                                         )      Judge Colin S. Bruce
                                                           )
JAMES DAWSON et al.,                                       )      Magistrate Judge Eric I. Long
                                                           )
        Defendants.                                        )

                      JOINT MOTION TO SET BRIEFING SCHEDULE

        The parties to the above-captioned matter, by and through their respective counsel, jointly

request that the Court enter a scheduling order for motion to dismiss briefing by the parties. In

support of their joint motion, the parties state:

        All defendants have or will file motions to dismiss Plaintiffs’ complaint on the pleadings.

The parties have met and conferred and agree that both parties and the Court will benefit from a

comprehensive consideration of these motions, particularly to the extent that the motions by the

different defendants address overlapping and complex considerations and arguments.

        In light of these considerations, the parties have agreed to and respectfully propose that the

Court adopt the following schedule for the consideration of motions to dismiss on the pleadings

filed by the defendants in this case:

                                                    ***
    1. All motions for dismissal on the pleadings to be filed on or before January 11, 2024.

    2. Plaintiffs to file a comprehensive response on or before February 1, 2024.

    3. Replies in support of dismissal to be filed on or before February 15, 2024.

                                                    ***
        The foregoing proposed schedule would not affect discovery in this case, which is

proceeding.
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        WHEREFORE, the parties in this matter jointly and respectfully request that the Court

enter their proposed schedule for briefing of motions to dismiss filed by the defendants in this

case.


Dated: January 10, 2024                          Respectfully submitted,



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